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     Federal Defender
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     Assistant Federal Defender
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     Sacramento, California 95814
 4   Telephone: (916) 498-5700
 5   Attorney for Defendant
     ROBERT HODGES
 6
 7
 8                            IN THE UNITED STATES DISTRICT COURT

 9                          FOR THE EASTERN DISTRICT OF CALIFORNIA
10
11   UNITED STATES OF AMERICA,             )   CASE NO. CR-S-04-0118 LKK
                                           )
12                         Plaintiff,      )
                                           )   ORDER AFTER HEARING
13         v.                              )
                                           )   DATE: July 19, 2005
14                                         )   TIME: 9:30 a.m.
     ROBERT HODGES,                        )   JUDGE: Lawrence K. Karlton
15                                         )
                    Defendants.            )
16   _______________________________

17
18         This matter came on for Status Conference on July 19, 2005, in the

19   courtroom of the Honorable Lawrence K. Karlton, Chief Judge Emeritus.

20   Assistant United States Attorney John K. Vincent represented the United

21   States of America.        For the defense, Assistant Federal Defender Mark

22   Reichel represented defendant Hodges who was not present but appeared

23   through counsel with a written waiver of his appearance on file with

24   the court; Bruce Locke, Esq., represented defendant Harrison who was

25   not present but appeared through counsel with a written waiver of his

26   appearance on file with the court; Bruce Locke, Esq., was standing in

27   for counsel for defendant Jensen who was not present but appeared

28   Order After Hearing
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 1   through counsel with a written waiver of his appearance on file with
 2   the court.
 3         The defense requested a continuance until September 20, 2005 in
 4   order to allow counsel further time to review recently obtained
 5   discovery and to arrange for the duplication of the hard drive of a
 6   computer obtained by the government from codefendant Robert Oliver's
 7   wife Tanya Oliver.      Therefore the parties further agreed to exclude
 8   time from calculation under the Speedy Trial Act for the reasons stated
 9   above,     pursuant to 18 U.S.C. §3161 (h)(8)(B)(iv) and Local Code T4,
10   for preparation of counsel, as well as Local Code T2 the case having
11   previously been declared complex by the court, from July 19, 2005, up
12   until and including September 20, 2005.
13         As well, it appearing from the records that defendant Hodges has
14   not been processed by the U.S. Marshal's Service in this case, he was
15   ordered to present himself for U.S. Marshal's processing at the next
16   court date.
17         Good cause appearing therefor, It is so ordered.
18         IT IS ORDERED that this matter is continued to September 20, 2005,
19   at 9:30 a.m. for Status Conference.
20         IT IS FURTHER ORDERED that pursuant to 18 U.S.C. §3161 (h)(8)(B)
21   (iv) and Local Code T4, and Local Code T2, the period from July 19,
22   2005, up to and including September 20, 2005, is excluded from the time
23   computations required by the Speedy Trial Act due to ongoing
24   preparation of counsel and the case having been declared complex by the
25   court.
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 1           Defendant Hodges is ordered to present himself for U.S. Marshal's
 2   processing at the next court date.
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 4
 5   Dated: July 21, 2005
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 7                                 /s/ Lawrence K. Karlton
                                   THE HONORABLE LAWRENCE K. KARLTON
 8                                 Chief Judge Emeritus
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